                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

         Luanna Scott, et al,         )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )            3:08-cv-00540-MOC-DSC
                                      )
                  vs.                 )
                                      )
      Family Dollar Stores, Inc.,     )
            Defendant(s).             )

 DECISION BY COURT. This action having come before the Court on Motion and a decision
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s March 14, 2018 Order.

                                               March 14, 2018




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